Case 1:19-cv-01033-TSE-TCB Document 1 Filed 08/08/19 Page 1 of 5 PageID# 1
                                                                                           L_L_i f(
                              IN THE UNITED STATES DISTRICT COURT
                                                                                             Hl®-82019
                              EASTERN DISTRICT OF VIRGINIA
                                                                                                                 COURT
                                                                                 I            (\i pyW-iDKlA. ViKOlHiA
                 COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C. H983

                                                      Action Number I : Hdv ICB2.
                                                                (To be supplied by the Clerk, U.S. District Court)


Please fill out this complaint form completely. The Court needs the information requested in
order to assure that your complaint is processed as quickly as possible and that all your claims
are addressed. Please print/write legibly or type.

I.     PARTIES


A.     Plaintiff:

I.    (a)                                            (b)
                (Name)                                      (Inmate number)

     (c)jMdiy
                (Address)

            Pnlt-kwiilbf'lv
Plaintiff MUST keep the Clerk of Court notified of any change of address due to transfer
or release. If plaintiff fails to keep the Clerk informed of such changes, this action may be
dismissed.


Plaintiff is advised that only persons acting under the color of state law are proper
defendants under Section 1983. The Commonwealth of Virginia is immune under the
Eleventh Amendment. Private parties such as attorneys and other inmates may not be
sued under Section 1983. In addition, liability under Section 1983 requires personal action
by the defendant that caused you harm. Normally,the Director of the Department of
Corrections, wardens,and sheriffs are not liable under Section 1983 when a claim against
them rests solely on the fact that they supervise persons who may have violated your rights.
In addition, prisons,jails, and departments within an institution are not persons under
Section 1983.


B.     Defendant(s): . i.j.' ^
        a
      (a)                                            (b)
                                                                                             tomAh/J
                (Name)i^ol                                  (Title/Job Description)
     (c)mcaMEiJM
                (Address)
Case 1:19-cv-01033-TSE-TCB Document 1 Filed 08/08/19 Page 2 of 5 PageID# 2
Case 1:19-cv-01033-TSE-TCB Document 1 Filed 08/08/19 Page 3 of 5 PageID# 3
Case 1:19-cv-01033-TSE-TCB Document 1 Filed 08/08/19 Page 4 of 5 PageID# 4
Case 1:19-cv-01033-TSE-TCB Document 1 Filed 08/08/19 Page 5 of 5 PageID# 5
